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                                        11
                                        12                         UNITED STATES DISTRICT COURT
F ENWICK & W ES T LLP
                        LAW




                                        13                        CENTRAL DISTRICT OF CALIFORNIA
                         AT
                        ATTO RNEY S




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                                           MON CHERI BRIDALS, LLC and   Case No.: 2:18-cv-09453-MWF-AS
                                        15 MAGGIE SOTTERO DESIGNS, LLC,
                                        16                   Plaintiffs,               STIPULATION CONCERNING
                                                                                       CLOUDFLARE’S MOTION TO
                                        17         v.                                  TRANSFER THE CASE (DKT. 24)
                                        18 CLOUDFLARE, INC., a Delaware
                                           corporation; and DOES 1–500,                Date:        March 4, 2019
                                        19 inclusive,                                  Time:        10:00 a.m.
                                                                                       Ctrm.:       5A
                                        20                   Defendants.               Judge:       Hon. Michael W. Fitzgerald
                                        21
                                        22         On February 14, 2019, the Court entered a minute order asking whether
                                        23 Cloudflare, Inc.’s motion to transfer the case to the Northern District of California
                                        24 for the convenience of parties and witnesses (Dkt. 24) remains appropriate
                                        25 considering the amended complaint that Plaintiffs Mon Cheri Bridals, LLC and
                                        26 Maggie Sottero Designs, LLC (Dkt. 28) filed on February 6, 2019. The Court also
                                        27 ruled that Cloudflare’s motion to dismiss the original complaint (Dkt. 23) was moot
                                        28
                                             STIPULATION ON MOTION TO                 1               CASE NO. 2:18-CV-09453-MWF-AS
                                             TRANSFER THE CASE
                                      Case 2:18-cv-09453-MWF-AS Document 30 Filed 02/21/19 Page 2 of 4 Page ID #:457



                                         1 in light of Plaintiffs’ amended complaint. The parties conferred following the
                                         2 Court’s order and hereby stipulate as follows:
                                         3         1.    Plaintiffs’ amended complaint does not affect the issues in
                                         4 Cloudflare’s motion to transfer this case, and the amendments do not warrant
                                         5 further briefing by either party on the motion to transfer the case.
                                         6         2.    With the filing of Cloudflare’s reply, which Cloudflare submits
                                         7 contemporaneously with this stipulation, all briefing on the motion will be
                                         8 complete.
                                         9
                                        10 Dated: February 21, 2019                FENWICK & WEST LLP
                                        11
                                                                                   By: /s/Andrew P. Bridges
                                        12                                            Andrew P. Bridges
F ENWICK & W ES T LLP




                                                                                      Armen N. Nercessian
                        LAW




                                        13                                            Meghan E. Fenzel
                         AT
                        ATTO RNEY S




                                        14                                         Attorneys for Defendant
                                                                                   CLOUDFLARE, INC.
                                        15
                                        16 Dated: February 21, 2019                OWENS & GACH RAY
                                        17
                                                                                   By: /s/ Robert B. Owens
                                        18                                             Robert B. Owens
                                        19                                         Attorneys for Plaintiffs
                                                                                   MON CHERI BRIDALS, LLC and
                                        20                                         MAGGIE SOTTERO DESIGNS, LLC
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                                             STIPULATION ON MOTION TO                 2               CASE NO. 2:18-CV-09453-MWF-AS
                                             TRANSFER THE CASE
                                      Case 2:18-cv-09453-MWF-AS Document 30 Filed 02/21/19 Page 3 of 4 Page ID #:458



                                         1                                     ATTESTATION
                                         2         I hereby attest that I have obtained the concurrence in the filing of this
                                         3 document from the signatory whose “conformed” signature (/s/) appears within this
                                         4 e-filed document.
                                         5
                                         6 Dated: February 21, 2019                 By: /s/ Andrew P. Bridges
                                                                                          Andrew P. Bridges
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                                             STIPULATION ON MOTION TO                  3               CASE NO. 2:18-CV-09453-MWF-AS
                                             TRANSFER THE CASE
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                                         1                              CERTIFICATE OF SERVICE
                                         2         I certify that on, February 21, 2019, I caused the Court’s CM/ECF electronic
                                         3 filing system to serve this document upon all counsel of record.
                                         4
                                         5                                        By: /s/ Andrew P. Bridges
                                         6                                              Andrew P. Bridges

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F ENWICK & W ES T LLP
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                                             STIPULATION ON MOTION TO                               CASE NO. 2:18-CV-09453-MWF-AS
                                             TRANSFER                                4
